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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 PATRICK LEE,

              Plaintiff,
                                           CIVIL ACTION NO. 1:15-CV-04310-
 v.                                        LMM

 CHUNG’S FAMILY, INC. d/b/a US
 Beauty Mart, MAE HWA CHUNG,
 and KOO PIL CHUNG,
              Defendants.


          NOTICE OF FILING OF SETTLEMENT AGREEMENT
      Defendant Chung’s Family, Inc. d/b/a US Beauty Mart, Defendant Mae Hwa

Chung, Defendant Koo Pil Chung (the “Defendants”) by and through their

undersigned counsel, hereby give notice of filing of the Settlement Agreement,

attached as Exhibit A, in this matter.



      Respectfully submitted this 9th day of February, 2016.

                                            /s/ Benson E. Pope
                                            Benson E. Pope
                                            Georgia Bar No. 583730
                                            Tasha K. Inegbenebor
                                            Georgia Bar No. 382905
                                            LITTLER MENDELSON, P.C.
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Case 1:15-cv-04310-LMM Document 16 Filed 02/09/16 Page 2 of 4




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                                 Attorneys for Defendants
                                 CHUNG’S FAMILY, INC. d/b/a US
                                 Beauty Mart, MAE HWA CHUNG,
                                 and KOO PIL CHUNG




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                               CERTIFICATION
      I do hereby certify that this document has been prepared in Times Roman

font, 14 point, in compliance with LR 5.1(C) of this Court.



                                      /s/ Benson E. Pope
                                      Benson E. Pope
                                      Georgia Bar No. 583730
            Case 1:15-cv-04310-LMM Document 16 Filed 02/09/16 Page 4 of 4




                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 9th day of February, 2016, I electronically filed

the forgoing NOTICE OF FILING OF SETTLEMENT AGREEMENT with

the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to the following attorney of record:

                                   Brian G. Kim
                                   Leon & Kim, LLC
                                   3006 Clairmont Road
                                   Atlanta, Georgia 30329
                                   leonandkimllc@gmail.com


                                              /s/ Benson E. Pope
                                              Benson E. Pope
                                              Georgia Bar No. 583730
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